
240 U.S. 60 (1916)
LAMAR
v.
UNITED STATES.[1]
No. 434.
Supreme Court of United States.
Motion to dismiss or affirm submitted January 17, 1916.
Decided January 31, 1916.
ERROR TO THE DISTRICT COURT OF THE UNITED STATES FOR THE SOUTHERN DISTRICT OF NEW YORK.
*61 The Solicitor General for the United States, in support of the motion.
Mr. Carl E. Whitney and Mr. A. Leo Everett for plaintiff in error in opposition to the motion.
*64 MR. JUSTICE HOLMES delivered the opinion of the court.
The plaintiff in error was tried and convicted upon an indictment charging him with having falsely pretended to be an officer of the Government of the United States, to wit, a member of the House of Representatives, that is to say, A. Mitchell Palmer, a member of Congress, with intent to defraud J.P. Morgan &amp; Company and the United States Steel Corporation. The case is brought here directly on the ground that the court had no jurisdiction because the indictment does not charge a crime against the United States, and that the interpretation of the Constitution was involved in the decision that a Congressman is an officer of the United States. There are subsidiary objections stated as constitutional that the indictment is insufficient and that it does not appear in what district the crime was committed.
On the matter of jurisdiction it is said that when the controversy concerns a subject limited by Federal law, such as bankruptcy, Grant Shoe Co. v. Laird, 212 U.S. 445; copyright, Globe Newspaper Co. v. Walker, 210 U.S. 356; patents, Healy v. Sea Gull Specialty Co., 237 U.S. 479, or admiralty, The Jefferson, 215 U.S. 130, the jurisdiction so far coalesces with the merits that a case not within the law is not within the jurisdiction of the court. The Ira M. Hedges, 218 U.S. 264, 270. Haddock v. Haddock, 201 U.S. 562. Jurisdiction is a matter of power and covers wrong as well as right decisions. Fauntleroy v. Lum, 210 U.S. 230, 234, 235. Burnet v. Desmornes, 226 U.S. 145, 147. There may be instances in which it is *65 hard to say whether a law goes to the power or only to the duty of the court; but the argument is pressed too far. A decision that a patent is bad, either on the facts or on the law, is as binding as one that it is good. The Fair v. Kohler Die Co., 228 U.S. 22, 25. And nothing can be clearer than that the District Court, which has jurisdiction of all crimes cognizable under the authority of the United States (Judicial Code of March 3, 1911, c. 231, § 24, second), acts equally within its jurisdiction whether it decides a man to be guilty or innocent under the criminal law, and whether its decision is right or wrong. The objection that the indictment does not charge a crime against the United States goes only to the merits of the case.
As to the construction of the Constitution being involved, it obviously is not. The question is in what sense the word `officer' is used in the Criminal Code of March 4, 1909, c. 321, § 32. The same words may have different meanings in different parts of the same act and of course words may be used in a statute in a different sense from that in which they are used in the Constitution. Am. Security &amp; Trust Co. v. Dist. of Col., 224 U.S. 491, 494.
There were fainter suggestions that the defendant's constitutional rights were infringed because the nature of the fraud intended was not set forth and because the State and district wherein the crime was committed were not proved. The indictment is not for defrauding but for personation with intent to defraud; the nature of the fraud intended is not material and even might not yet have been determined. It is not an indictment for a conspiracy to commit an offence against the United States, where the offence intended must be shown to be a substantive crime. It reasonably may be inferred from the evidence that the defendant was tried in the right State and district in fact. If so, his constitutional rights were preserved. The personation was by telephone to a person *66 in New York (Southern District) and it might be found that the speaker also was in the Southern District; but if not, at all events the personation took effect there. Burton v. United States, 202 U.S. 344, 389. These objections are frivolous and the others have been shown to be unfounded. It follows that the writ of error must be dismissed.
Writ of error dismissed.
MR. JUSTICE MCREYNOLDS took no part in the consideration or decision of this case.
NOTES
[1]   For final decision of this case see 241 U.S. 103.

